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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


ANTHONY DAUNT, et al.,

           Plaintiffs,                     Case No. 1:19−cv−614

    v.                                     Hon. Janet T. Neff

JOCELYN BENSON, et al.,

           Defendants.
                                     /



                                     ORDER
      This matter is before the Court on Plaintiffs Michigan Republican Party,
Laura Cox, Terri Lynn Land, Savina Alexandra Zoe Mucci, Dorian Thompson,
and Hank Vaupel's Motion to Exceed Word Limit (ECF No. 55). The Court
having reviewed the motion: IT IS HEREBY ORDERED that the Motion to
Exceed Word Limit (ECF No. 55) is GRANTED.

         IT IS SO ORDERED.


Dated: October 4, 2019                             /s/ Janet T. Neff
                                                  JANET T. NEFF
                                                  Janet T. Neff United States District
                                                  Judge
